         Case 6:18-cv-00925-SB         Document 37      Filed 10/19/20     Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

KIMBERLY BAILEY,
                                                  Case No. 6:18-cv-00925-SB
       Plaintiff,

                    vs.                          ORDER APPROVING PLAINTIFF’S
                                                 MOTION FOR ATTORNEY FEES
COMMISSIONER,                                    PURSUANT TO 42 U.S.C. §406(b)
Social Security Administration,

       Defendant.


     Plaintiff’ s counsel is hereby allowed to receive attorneys’ fees in the amount of $14,927.75

pursuant to 42 U.S.C. § 406(b). Previously, this court awarded fees pursuant to the Equal Access

to Justice Act (EAJA), 28 U.S.C. § 2412. After the EAJA fees are subtracted from the

$14,927.75, Plaintiff’ s counsel may retain $7,518.91. Consistent with these amounts allowed,

past-due benefits withheld by the agency in anticipation of an order under 42 U.S.C. 406(b) if

any, may be payable and mailed to Plaintiff’ s attorneys at HARDER, WELLS, BARON &

MANNING, P.C., 474 Willamette Street, Eugene, Oregon 97401, less an administrative

assessment pursuant to 42 U.S.C. 406(d) and the amount of the EAJA fees previously received

by the attorney.

     IT IS SO ORDERED this 19th day of October, 2020.



                                           ___________________________________________
                                           Hon. Stacie F. Beckerman
Proposed Order submitted by:               United States Magistrate Judge
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